Case 1:05-cv-01116-.]DT-STA Document 19 Filed 08/12/05 Page 1 of 3 Page|D 3

 

EASTERN DIVISION

MICHAEL BEASLEY, )
Plaintiff )
)

v. ) No: 1-05-1116 T/An
)
JUDGE DONALD ALLEN, et al., )
Defendant(s) )

 

ORDER GRANTING THE EXTENSION OF TIME TO FILE
A RESPONSIVE PLEADING TO DEFENDANTS

 

Upon motion of the Defendants, Bob Anderson, Judy Barnhill, J anne Moore, Jerry Gi.St and
David Woolfork, to extend time to file responsive pleading, Staternents of counsel for these
Dei`endants, and the entire record, it is,

ORDERED that the Defendants, Bob Anderson, Judy Barnhill, Jamie Moore, .lerry Gist and
David Woolt`ork are granted an extension of time to file a responsive pleading, with said responsive
pleadings to be filed on or before Septernber 9, 2005.

DATED: This the §§ day ofAugust, 2005.

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IUDGE

Thls document entered on the docket sheet ln ccbr:\§lianco
with Rule 58 and,-'or_?S (a) FF|CP on 0 ‘ "

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By:

Respectfully submitted,

PENT'ECOST,` GLENN & RUDD, PLLC

%/wr/M fpbe

J ames Pentecost (#01 1640)
Brandon O. Gibson (#021485)
Attorney for Defendants

106 Stonebridge Blvd
Jackson, TN 38305

(731) 668-5995

CERTIFICATE OF SERVICE

This is to certify that l served a copy of this pleading or paper personally or by mail upon
each attorney or firm of attorneys appearing of record for each adverse party on or before the

filing date thereof

DATE:This the Sth of August, 2005.

SERVED UPON:

Bede Anyanwu
P.O. Box 12022
Jaokson, Tennessee 38008

By:

PENTECOST, GLENN & RUDD, PLLC

J ames I. Pentecost
Brandon O. Gibson

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 1:05-CV-011]6 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

 

Bede Anyanwu
P.O. Box 12022
Jackson, TN 38008

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

Mary M. Bers

OFFICE OF THE ATTORNEY GENERAL
P.O. Box 20207

Nashville, TN 37202--020

Honorable J ames Todd
US DISTRICT COURT

